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                                                                          FILED
               IN THE UNITED STATES DISTRICT COURT
                                                                           JUN 14 2017
                   FOR THE DISTRICT OF MONTANA
                         HELENA DIVISION                                Clerk, U.S. District Court
                                                                          D1stnct Of Montana
                                                                                 Helena

 UNITED STATES OF AMERICA,                   CR 17-7-H-SEH

                     Plaintiff,

         vs.                                 ORDER

 CHASE RYAN STORLIE and
 CHRISTIAN JESUS RUIZ,

                     Defendants.



      Upon petition of J. Thomas Bartleson, Assistant United States Attorney for

the District of Montana, and good cause appearing therefor,

      ORDERED:

      The Clerk of this Court shall issue a Writ of Habeas Corpus, ad

testificandum, directing the Sheriff, Lewis and Clark County Detention Center, and

the United States Marshal for the District of Montana, to produce ADAM

FREEMAN before the above-entitled Court at the Paul G. Hatfield Courthouse in

Helena, Montana, at 8:45 a.m. on the 17th day of July, 2017, and ADAM




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to the Lewis and Clark County Detention Center upon conclusion of all

proceedings.            ±!:J.
      DATED this_}£ day of June, 2017.



                                   4kn:zwffl~
                                     United States District Court Judge




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